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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

  PROMOTE INNOVATION LLC,                          §
                                                   §
                 Plaintiff                         §
                                                   §
         v.                                        §    Case 6:11-cv-00078-LED
                                                   §    Jury
  SERGEANT'S PET CARE PRODUCTS,                    §
  INC., VIRBAC AH, INC., and                       §
  VIRBAC CORPORATION,                              §
                                                   §
                 Defendants.                       §

                                  ORDER OF DISMISSAL

         In light of the settlement agreement and stipulation of dismissal between Plaintiff

  Promote Innovation LLC ("Promote"), as Relator for the United States, and Defendants

  Sergeant's Pet Care Products, Inc. (Sergeant's) and Virbac AH, Inc. and Virbac

  Corporation (together, Virbac) (collectively, Defendants), the Court HEREBY ORDERS

  as follows:

         1.      This is an action by Promote, as Relator for the United States claiming

  false patent marking. On August 18, 2011, Promote filed an amended complaint in this

  action (“Amended Complaint”).

         2.      Promote and Defendants have agreed to settle their disputes in this action.

  Promote consents to dismissal with prejudice of all of its claims in this suit. Accordingly,

  Promote’s false marking claims against Defendants, as set forth in the Amended

  Complaint, are hereby dismissed with prejudice.

         3.      Any and all claims that have been or could have been brought by Promote

  against Defendants, on behalf of itself, the United States, and the general public,


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  regarding alleged false marking or advertising or causing or contributing to false marking

  or advertising under 35 U.S.C. § 292 of the products identified in the Amended

  Complaint are fully resolved.

         4.      To the extent that any other claims for false marking under 35 U.S.C. §

  292 of the products identified in the Amended Complaint exist against Defendants, such

  claims are hereby extinguished. Accordingly, any future litigation brought under 35

  U.S.C. § 292 on behalf of the United States and/or the general public with regard to any

  of the products identified in the Amended Complaint that were manufactured on or

  before the date hereof is barred.

         5.      Defendants and those acting in concert with Defendants may without

  further liability sell inventory and exhaust materials, packaging, and labels that were

  manufactured on or before the date hereof.

         6.      Promote and Defendants agree that Promote is in privity with the United

  States of America and the general public for the purposes of this litigation.

         7.      Promote and Defendants shall each bear their own attorney fees and costs

  incurred in connection with this action.

         8.      This Court retains jurisdiction over the parties and the settlement

  agreement for purposes of resolving any dispute that may arise under it.


          So ORDERED and SIGNED this 22nd day of August, 2011.




                                  __________________________________
                                  LEONARD DAVIS
                                  UNITED STATES DISTRICT JUDGE

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